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                                      #360



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AM ERICA,

Plaintiff,

vs.

TRAVIS NORMAN,

Defendant.                                          No. 05-CR-30015-DRH

                                      ORDER

HERNDON, District Judge:

             Before this Court is a Motion to Reconsider this Court’s Order of March

30, 2005 (Doc. 86), which granted Defendant’s Motion for Disclosure of Impeaching

Information (Doc. 55). (Doc. 95.) The Court granted Defendant’s Motion based on

the fact that the government failed to reply to Defendant’s Motion within the ten-day

period prescribed by the Local Rule of the Southern District of Illinois 7.1. (Doc.

86.) The government indicates that its failure to respond within the ten-day period

was based on oversight. (Doc. 95.)

             The Court GRAN TS the government’s Motion to Reconsider (Doc. 95)

on this basis.   Further, upon reconsideration, the Court GRANTS in part and

DENIES in part Defendant’s Motion for Disclosure of Impeaching Information.

(Doc. 55.) The Court agrees that the government must abide by the holdings in,

among other cases, Brady v. Maryland, 373 U.S. 83 (1973) and Giglio v. United



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States, 405 U.S. 150 (1972). The government, however, has indicated that it has

exceeded its obligation under relevant rules and case law.          (Doc. 95, p. 2.)

Defendant provides no statement to the contrary, in stead requesting production of

a great deal of material that the government need not necessarily disclose. The

Court finds these requests overbroad.

              Therefore, the Court GRAN TS the government’s Motion to Reconsider

(Doc. 95), and, upon reconsideration, GRANTS in part and DEN IES in part

Defendant’s Motion for Disclosure of Impeaching Information (Doc. 55). The Court

GRANTS Defendant’s Motion only to the extent it seeks compliance with established

rules and case law. The government should comply with the rulings set forth in

Brady, Giglio, and other relevant cases.     The Court DEN IES the remainder of

Defendant’s   Motion, including Defendant’s extensive discovery requests, as

overbroad.




              IT IS SO ORDERED.



              Signed this 24th day of October, 2005.



                                                       /s/      David RHerndon
                                                       United States District Judge




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